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                    EXHIBIT A
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                       [REDACTED]
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                     MEG KAPLAN, PhD
                      Curriculum Vitae
Date of Preparation of CV: July 1st, 2019

Field of Study: My field of study is in Human Sexuality. Specifically, my clinical
work, research, and teaching focus on the paraphlias, or patterns of atypical sexual
behavior and my clinical work has involved sexual dysfunction. This has been my
focus for over 35 years. I am the Director of the Sexual Behavior Clinic at New York
State Psychiatric Institute. Research conducted at our clinic has demonstrated that
most often atypical sexual interest patterns develop during adolescence. Therefore,
over the past 28 years I have been researching and treating juveniles who have
committed sexual offense, as well as adults, to help these individuals attain sexual
health and prevent further victimization. The focus of my research and study has
been on how atypical sexual arousal patterns begin, on the age of onset of
paraphilias, and on developing effective treatments for this population. A focus of my
clinical practice is on sexual dysfunction in men, women, and couples.

Personal data:

Name:                      Meg Susan Kaplan, PhD

Contact Information:

Work Address:              Sexual Behavior Clinic
                           New York State Psychiatric Institute & Columbia University
                           Department of Psychiatry, Unit #45
                           1051 Riverside Drive
                           New York, N.Y. 10032

                           (Private Practice)
                           210 East 68th Street, Suite 1-H
                           New York, New York 10065 (Private Practice)


Telephone:                 Cell: 646-338-9708

E-mail:                    meg.kaplan@nyspi.columbia.edu
                           msk2@cumc.columbia.edu

Birthplace:                New York, New York

Citizenship:               United States of America

Academic Appointments:
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7/2019-present           Clinical Professor of Medical Psychology in Psychiatry,
                         College of Physicians and Surgeons, Columbia University,
                         New York, New York

7/1998-Present           Associate Clinical Professor of Psychology (in
                         Psychiatry), College of Physicians and Surgeons,
                         Columbia University, New York, New York

7/1989-6/1998            Assistant Professor of Clinical Psychology (in
                         Psychiatry), College of Physicians and Surgeons,
                         Columbia University, New York, New York

7/1986-6/1989            Instructor of Clinical Psychology (in Psychiatry),
                         College of Physicians and Surgeons, Columbia
                         University, New York, New York

Hospital Appointments:

12/1993-present          Research Scientist III, Washington Heights
                         Community Service (WHCS), Sexual Behavior Clinic,
                         New York, New York

3/1988-12/1993           Research Scientist II, New York State Psychiatric
                         Institute, New York, New York

Present Work Experience:

1990-Present             Director, Sexual Behavior Clinic, New York State
                         Psychiatric institute. This position involved clinical
                         research evaluations and treatment of adult and
                         adolescent sexual abusers, training and supervision
                         of mental health professionals in the evaluation and
                         treatment of sexual offenders.

Other Work Experience:

2004 to Present          Chairperson, Special Classification Review Board for
                         Sex Offenders (SCRB), Adult Diagnostic & Treatment
                         Center, Department of Corrections, State of New
                         Jersey, Avenel, New Jersey. Under statute 2A:164-8,
                         the Board reviews the treatment progress of
                         incarcerated felons convicted under New Jersey’s sex
                         offender act to determine readiness for parole board
                         referral.

1991 to 2004             Member, Special Classification Review Board for Sex
                         Offenders (SCRB), Adult Diagnostic & Treatment
                         Center, Department of Corrections, State of New
                         Jersey, Avenel, New Jersey
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1992-2008               Group Trainer, Columbia University Mental Health
                        Training Project, HIV prevention training for
                        providers to people with severe mental illness

1985-1988               Research Assistant, Research Foundation for Mental
                        Hygiene, Inc. This position involved clinical research
                        with Dr. Gene Abel at the Sexual Behavior Clinic,
                        NYSPI

1974-1984               Parole Officer, New York State Executive
                        Department, New York, New York. This involved the
                        supervision and counseling of offenders of violent
                        felony crimes including investigations and law
                        enforcement.

1981-1984               New York State Division of Parole. This involved the
                        design and implementation of a research study to
                        evaluate the treatment needs for sex offender
                        parolees, the extent of prior treatment in prison, and
                        the evaluation of parolee’s sexual interest patterns.

1983                    Developed a seven-and-a-half-hour sex
                        education/sex dysfunction treatment course for
                        convicted sex offenders.

1979                    Designed and implemented the New York State
                        Division of Parole Lower East Side Project, a
                        community-based project that incorporated
                        community involvement in the social-psychological
                        reintegration of offenders

1977                    Designed and conducted Pilot Exchange Program, a
                        one-year experimental program which assigned
                        felony offenders who could most benefit from working
                        with a parole officer of the opposite sex; after one
                        year, the program was made a permanent aspect of
                        the Division of Parole

1973                    Counselor, National Council on Alcoholism Alcohol
                        Recovery Institute, New York City, New York,
                        conducted workshops for professionals on alcohol
                        abuse

1971-1973               Research Assistant, Family Institute, New York, New
                        York, research in the development, practice and
                        effectiveness of family therapy

Education:
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7/1980-6/1985 PhD      New York University, New York, New York. Discipline:
                       Human Sexuality: PhD Sponsor: deryck calderwood,
                       Professor (Note: Dr. calderwood requested that his name
                       not be capitalized)

                       Thesis Title: The Impact of Parolee’s Perception of
                       Confidentiality on the Reporting of Their Urges to
                       Interact Sexually with Children

                       Citation of Publication:

                       *Kaplan MS, Abel GG, Rathner J, Mittleman M. The
                       impact of parolee's perceptions of confidentiality on
                       self-reported sex crimes. Annals of Sex Research.
                       1990;3(3):293-305.

                       *Kaplan MS. A description of self-reports of convicted
                       child molesters following incarceration. International
                       Journal of Offender Therapy & Comparative
                       Criminology. 1989;33(1):69-75
                       Impact factor: 1.452

                       Annotation-Dr. Kaplan is the senior author on these
                       papers that compare self-reports of past behavior of
                       sex offender parolees to a parole officer with no
                       confidentiality with self-reports to a clinician under
                       conditions of full confidentiality.

9/1970-6/1972 MA       New York University, New York, New York: Discipline:
                       Guidance and Counseling

9/1966-6/1970 BA       New York University, New York, New York; Major:
                       Psychology

Training:

1982-1984              Sexual Behavior Clinic, New York State Psychiatric
                       Institute. Training in the evaluation and treatment of
                       sexual dysfunctions and sexual disorders with Gene
                       Abel MD and Judith Becker PhD

1982-1984              Training as co-therapist with Gene Abel MD in sex
                       dysfunction therapy and the treatment of adult sex
                       offenders at New York State Psychiatric Institute

1970-1973              Counselor, New York State Division of Youth, New
                       York, New York. Individual counseling for juvenile
                       offenders.
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1970-1973               Internship as counselor, National Council on
                        Alcoholism, Alcohol Recovery Institute, New York,
                        New York. Conducted workshops for professionals on
                        alcohol abuse

1970-1973               Counselor, New York City Board of Education Peer
                        Group Program, New York, New York. Workshops to
                        train adolescents in peer group and sexuality
                        counseling.

1970-1973               Psychology Intern, Flower Fifth Avenue Medical
                        Center, Mental Retardation Unit, New York, New
                        York. Utilized testing techniques of intelligence and
                        projective tests

1970-1971               Psychology Intern, Beth Israel Hospital, New York,
                        New York. Psychological and perceptual testing of
                        children 4-7 years of age



Explanation of Gaps in Education:

7/1972-1980             Following graduation from New York University with a
                        Master’s Degree in Guidance and Counseling in 1972, I
                        decided to gain work experience prior to starting a PhD
                        program and worked at various counseling positions and
                        internships until 1974. I then worked as a
                        New York State Parole Officer from 1974 to 1985, pursuing
                        my PhD in 1980 while employed full time.

Licensure:

2006-present            Mental Health Counselor, New York State License
                        #5628748

1988-present            Psychologist, New Jersey State License
                        #355100245300

Honors & Awards:

2018                    Fellowship in the Association for the Treatment of Sexual
                        Abusers. This is an award given to those members who
                        have demonstrated exceptional commitment and made
                        exceptional contributions to the organization.

12/2/1983               New York State Parole Officers Association Medal of
                        Commendation for the following actions: on 6/30/1983 Meg
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                        Kaplan arrested a violent parole violator who escaped from
                        custody after seriously injuring a fellow parole officer


Professional Organizations and Societies:

Memberships and Positions:

      Local:
      1999 to 2002      Member, Sex Offender Management Team, Office of the
                        Criminal Justice Coordinator, The City of New York

      1998 to 2000      At-Large Member, The Partnership for the Homeless

      1984 to 2001      The New York City Task Force Again Sexual Assault

      Regional:

      1985-present      Member, New York State Association for the
                        Treatment of Sexual Abusers (NYSATSA); Board
                        Member from 1990 to 2016


      National:

      1991-present      Member, Association for the Treatment of Sexual
                        Abusers (ATSA); Executive Board member from
                        1995-2000

      1985-present      Member, American Psychological Association

      1985-1990         Diplomat, American Board of Sexology

      1985-1995         Member, Association in the Advancement of Behavior
                        Therapy (AABT)

      1985-2000         Member, Sex Information and Education Council of
                        the United States (SIECUS)

      1987-present      Member, Society for Sex therapy and Research
                        (SSTAR)

      1985-1995         American Professional Society on the Abuse of
                        Children

      International:

      1996-present      Member, International Academy of Sex Research
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       1985-2010           Member, Society for the Scientific Study of Sex
                           (SSSS)

Consultative:

2014-present               Consultant, Sexual Health and Disorders Committee
                           of the World Health Organization, making
                           recommendations for ICD-11

2009-2011                  Consultant, Sexual and Gender Identity Disorders
                           Work Group, DSM-5

2000-present               Consultant, Mid-Hudson Forensic Psychiatric Center,
                           New Hampton, New York. Consulted on the
                           evaluation and treatment of individuals who have
                           committed sexual offenses


2002                       Consultant, OHEL Children’s Home and Family
                           Services Sex Offender Program: Reviewed Policy,
                           Procedures and Medical Records

1999-2001                  Consultant, New York State Office of Mental Health
                           Task Force on Sex Abuse

1999-2000                  Member, New York City Office of Criminal Justice
                           Sexual Offender Management Team

1998                       Member, New York State Office of Mental Health
                           Sexually Violent Predator Steering Committee

1995-2005                  Expert Consultant, New York State Health Department
                           Office of Professional Medical Conduct, Albany, New York

Journal Reviewer:

Annals of Sex Research

Criminal Justice and Behavior

Journal of Interpersonal Violence

Journal of Sex Education and Therapy

Sexual Abuse: A Journal of Research & Treatment

Siecus Report

Violence Update
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Fellowship and Grant Support:

Past Support:

2003-2008           Co-Investigator and Prevention Coordinator, HRSA AETC,
                    Columbia University School of Public Health, New York/ New
                    Jersey AIDS Education and Training Center (HRSA)
                    $104,000 Annually. Provided sexuality and safe
                    sex training to groups that were at high risk for HIV.

2002-2003           Co-Investigator, H4AHA003303, New York State AIDS
                    Institute. Mental Health Training for AIDS Care Providers
                    throughout New York State. $50,000. Provided sexuality
                    and safe sex training to groups that were at high risk for HIV.


1998-2003           Co-Investigator and Prevention Coordinator, SAMSHA
                    SM52311 Columbia University HIV/AIDS Mental Health
                    Training Project, $645,00). Provided sexuality and safe sex
                    training to groups that were at high risk for HIV.

1998-2003           Co-Investigator and Prevention Coordinator, SAMSHA
                    SM52311 Columbia University HIV/AIDS Mental Health
                    Training Project, $645,000. Provided sexuality and safe sex
                    training to groups that were at high risk for HIV.

1995-1998           Co-Investigator and Prevention Coordinator, SAMSHA
                    SM19983 Columbia University HIV/AIDS Mental Health
                    Training Project. $568,000. Provided sexuality and safe sex
                    training to groups that were at high risk for HIV.

1993-1996           Co-Investigator, NIMH 5P50 MH 43520, HIV Center for
                    Clinical and Behavioral Studies. Determinants of Sexual
                    Problem Behaviors in Childhood. Provided sexuality and
                    safe sex training to groups that were at high risk for HIV.

1992-1995           Co-Investigator and Prevention Coordinator, SAMSHA
                    MH19845 HIV Training for Providers to the Severely
                    Mentally Ill, $470,000. Provided sexuality and safe
                    sex training to groups that were at high risk for HIV.

1992-1995           Co-Investigator, SAMSHA MH19845 - HIV Training for
                    Providers to The Severely Mentally Ill. Provided sexuality
                    and safe sex training to groups that were at high risk for HIV.

1990                Co-Investigator, BRSG - Characteristics of Female Sexual
                    Offenders Against Children, Pilot Study, $2,790. Provided
                    sexuality and safe sex training to groups that were at high
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                    risk for HIV.

1987-1990           Co-Investigator, NIMH -- HIV Center for Clinical and
                    Behavioral Studies: AIDS Prevention for Adolescent Sex
                    Offenders, $89,794. Provided sexuality and safe
                    sex training to groups that were at high risk for HIV.

Educational Contributions:

Direct Teaching/Precepting/Supervising:

2010-present        Faculty, Columbia-Cornell Forensic Psychiatry Fellowship
                    Program. Delivers 2-hour lectures to forensic fellows five times
                    annually. 2 forensic fellows

1999-present        Faculty, Columbia-Cornell Forensic Psychiatry Fellowship
                    Program. Supervise forensic fellows 2-4 hours per week in group
                    therapy for juveniles who have committed sexual offenses.
                    Supervises intake evaluations and teaches sexual dysfunction
                    evaluation and treatment. 1 forensic fellow weekly throughout the
                    year.

1998-present        One-month clinical elective offered to Columbia and affiliated
                    medical students. This is offered to 1 student at a time and
                    involves 2 to 4 hours of supervision and instruction on the
                    assessment and treatment of juveniles who have committed
                    sexual offenses. Students for the past several years have
                    adopted this elective approximately 4 months out of the year.

1993-2015           Lecture on sexual disorders and sexual dysfunction to the
                    2nd year medical student class at Columbia University
                    College of Physicians and Surgeons for 2 hours annually

1994-2005; 2018     Lecture on sexual disorders and sexual dysfunctions to
                    psychiatric residents at Harlem Hospital 2 hours per year; 4
                    residents

1986-present        Lecture on sexual disorders and sexual dysfunction to
                    psychiatric residents from the Creedmore residency
                    program, 2 hours per year; 4 residents

Advising and Mentorship:

1985-present        Instructed and supervised other New York State Office of Mental
                    Health Providers on the assessment and treatment of juveniles
                    who have committed sexual offenses. Most recent mentee is
                    Melissa Peabody, MSW. Approximately 10 hours per year.

Publications:
      Case 1:19-cr-00521-PKC Document 96-1 Filed 10/23/20 Page 12 of 37

Meg S. Kaplan PhD                                                      Page 10

*denotes first or senior author: *10/36

Peer-Reviewed Research Publications in Print or other Media (annotated):

2018
1. *Kaplan MS. Getting Beyond the Sexual Abuse Binary: Discerning Sexual Agency
   from Sexual Coercion. Sex Positivity in the Time of #MeToo. (2018) The Journal
   of Contemporary Psychoanalysis. In press.
   Impact factor: 0.31
   Dr. Kaplan was the only author of this paper, presented at a conference entitled
   Sex, Power, & Consent: Can We Talk? (2018). She conceived of this subject,
   which presents the continuum of sexual behaviors and motivation that are relevant
   to consent, from illegal behaviors to those that are legal but may involve civil
   violations or ambiguity.

2013
2. Krueger RB, Weiss SL, Kaplan MS, Braunstein LJ, Wiener E. The impact of
   of internet pornography use and cybersexual behavior on child custody and
   visitation. Journal of Child Custody. 2013 10:68-98.
   Impact factor: 0.68
   Dr. Kaplan is the 3rd author on this article. She contributed significantly to the
   conceptualization, research, writing and editing of this manuscript.

2012
3. *Kaplan MS, Krueger RB. Cognitive-behavioral treatment of the paraphilias.
    The Israeli Journal of Psychiatry and Related Sciences. 2012 49(4):291-296.
    Impact factor: 1.04
    Dr. Kaplan was the primary author of this article, developing the concept,
    reviewing and writing this manuscript.

4. Krueger RB, Kaplan MS. Paraphilic Diagnoses in DSM-5. The Israeli Journal
   of Psychiatry and Related Sciences. 2012 49(4):248-254.
   Impact factor: 1.04
   Dr. Kaplan contributed substantially to the conceptualization, writing, and
   editing of this manuscript.

2010
5. *Kaplan MS, Krueger RB. Diagnosis, assessment, and treatment of
   hypersexuality: Annual Review of Sex Research. Journal of Sex Research.
   2010 47(2-3): 181-198.
   Impact factor: 2.921
   Dr. Kaplan is the first author on this paper, which provided an overview of
   current knowledge current hypersexuality and its treatment. Dr. Kaplan
   originated this article and was the main author.

2009
6. Krueger RB, Kaplan MS, First M. Sexual and other axis I diagnoses of 60
   males arrested for crimes against children involving the internet. CNS
   Spectrums. 2009 Nov;14(11): 623-631.
      Case 1:19-cr-00521-PKC Document 96-1 Filed 10/23/20 Page 13 of 37

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    Impact factor: 3.504
    Dr. Kaplan contributed substantially to the conceptualization, writing, and
    editing of this manuscript. She was also involved in the clinical treatment of
    some individuals who agreed to this study.

2002
7. Herman R, Kaplan MS, LeMelle S. Psychoeducational debriefings after the
   September 11 disaster. Psychiatric Services. 2002 53 (4): 479
   Impact factor: 2.205
   Dr. Kaplan contributed substantially to the conceptualization, writing, and
   editing of this manuscript. She conducted many of the psychoeducational
   debriefings.

8. Krueger RB, Kaplan MS. Treatment resources for the paraphilic and
   hypersexual disorders. Journal of Psychiatric Practice. 2002 Jan;8(1):59-60
   Impact factor: 1.722
   Dr. Kaplan contributed substantially to the conceptualization, writing, and
   editing of this manuscript.

9. Krueger RB, Kaplan MS: Behavioral and psychopharmacological treatment of
   the paraphilic and hypersexual disorders. Journal of Psychiatric Practice.
   2002 Jan; 8(1):21-32
   Impact factor: 1.722
   Dr. Kaplan cowrote this paper with Dr. Krueger, contributing to the concept,
   writing, and critically reviewing the article. She was responsible for the
   section on behavioral treatment.

2001
10. Krueger RB, Kaplan MS. The paraphilic and hypersexual disorders: An
   overview. Journal of Psychiatric Practice. 2001 Nov; 7:391-403
   Impact factor: 1.722
   Dr. Kaplan cowrote this paper with Dr. Krueger, contributing to the concept,
   writing, and critically reviewing the manuscript.

11. Krueger RB, Kaplan MS. Depot-leuprolide acetate for the treatment of the
    paraphilias: A report of 12 cases. Archives of Sexual Behavior. 2001 30:409-422
    Impact factor: 3.223 (this is one of the two most influential journals in the field of
     sexual research)
     Dr. Kaplan helped with the conceptualization, writing, and editing of this paper.
     This was the first published case series involving the use of depot-leuprolide
     acetate for the treatment of paraphilic disorders.

1997
12. Cournos F, Herman R, Kaplan MS, McKinnon K. AIDS prevention for people
    with severe mental illness. Journal of Practical Psychiatry and Behavioral
    Health. 1997 Sept;3(5):285-293
    Impact factor: 2.051
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    Dr. Kaplan contributed substantially to the conceptualization, writing, and
    editing of this manuscript. She conducted many of the trainings reported on
    in this article.

1995
13. Kaemingk K, Koselka M, Becker J, Kaplan MS. Age and adolescent sexual
    offender arousal. Sexual Abuse: A Journal of Research and Treatment. 1995
    7(4):249-259
    Impact factor: 3.444
    Dr. Kaplan was a co-author of this paper, contributing to the concept, writing,
    and editing the manuscript

14. Hunter J, Becker J, Goodwin DW, Kaplan MS. The adolescent sexual
    interest cardsort: Test-retest reliability and concurrent validity in relation to
    phallometric assessment. Archives of Sexual Behavior. 1995 24(5):555-563
     Impact factor: 3.223
    Dr. Kaplan was a co-author of this paper, contributing to the research,
    writing, and editing the manuscript.

15. *Kaplan MS, Green A. Incarcerated female sexual offenders: A comparison
     of sexual histories with eleven female nonsexual offenders. Sexual Abuse: A
     Journal of Research and Treatment.1995 7(4):287-300
     Impact factor: 3.444
      Dr. Kaplan is the first author on this paper, which compared abuse histories
      of female sexual offenders with those of females who were not sexual
      offenders. This was a pioneering paper.

16. Kobayashi J, Sales BD, Becker JV, Figueredo AJ, Kaplan MS. Perceived
    deviance, parent-child bonding, child abuse, and child sexual aggression.
    Sexual Abuse: A Journal of Research and Treatment. 1995 7(1):25-45
    Impact factor: 3.444
    Dr. Kaplan was a co-author of this paper, contributing to the research,
    writing, and editing the manuscript.

1994
17. Green A, Kaplan MS. Psychiatric impairment and childhood victimization
     experiences in female child molesters. Journal of the American Academy of
     Child and Adolescent Psychiatry.1994 Sept;33(7):954-961
     Impact factor: 6.250
     Dr. Kaplan coauthored this paper. Dr. Kaplan helped in the study design
     and shared in interviewing the subjects, writing and reviewing this paper.


18. Herman R, Kaplan MS, Satriano J, Cournos F, McKinnon K. HIV prevention
    with people with serious mental illness: Staff training and institutional
    attitudes. Psychosocial Rehabilitation Journal.1994;17:97-103
    Impact factor: N/A
    Annotation- N/A
      Case 1:19-cr-00521-PKC Document 96-1 Filed 10/23/20 Page 15 of 37

Meg S. Kaplan PhD                                                       Page 13

1993
19. *Kaplan MS, Morales M, Becker JV. The impact of verbal satiation on
     adolescent sex offenders: A preliminary report. Journal of Child Sexual
     Abuse. 1993 2(3):81-88
     Impact factor: 1.133
     Dr. Kaplan was the first author of this paper; she conceived of the study
     design, conducted the research and treated and interviewed the subjects.

1992
20. Becker JV, Hunter JA, Goodwin D, Kaplan MS, Martinez D. Test-retest
     reliability of audio-taped phallometric stimuli with adolescent sex offenders.
     Annals of Sex Research. 1992 5:45-51
    Impact factor: 1.78
     Dr. Kaplan contributed to the research design and implementation and to
     the writing and editing of this manuscript.

21. Becker JV, Kaplan MS, Tenke CE. The influence of abuse history and
    denial on erectile response profiles of adolescent sexual perpetrators.
    Behavior Therapy. 1992 23:87-97
    Impact factor: 3.228
    Dr. Kaplan contributed to the research design and implementation and to
    the writing and editing of this manuscript.

22. Becker JV, Stein RM, Kaplan MS, Cunningham-Rathner J. Erectile
    response characteristics of adolescent sex offenders: A preliminary study.
    Annals of Sex Research. 1992 5(1):81-86
    Impact factor: 1.78
    Dr. Kaplan contributed to the research design and implementation and to
    the writing and editing of this manuscript.

1991
23. Hunter JA, Becker JV, Kaplan MS, Goodwin DW. The reliability and
     discriminitive utility of the adolescent cognitions scale for juvenile offenders.
     Annals of Sex Research.1991 4:281-286
    Impact factor: 1.78
     Dr. Kaplan contributed to the research design and implementation and to
     the writing and editing of this manuscript.

24. Becker JV, Kaplan MS. Rape victims: Issues, theories and treatment.
     Annual Review of Sex Research.1991 2:267-292
    Impact factor: 0.80
     Dr. Kaplan contributed to conceptualization, research, writing, and editing of
     this paper.

25. Rotheram-Borus MJ, Becker JV, Koopman C, Kaplan MS. AIDS
    knowledge and beliefs, and sexual behavior of sexually delinquent and non-
    delinquent (runaway) adolescents. Journal of Adolescence.1991 14:229-244
    Impact factor: 1.865
      Case 1:19-cr-00521-PKC Document 96-1 Filed 10/23/20 Page 16 of 37

Meg S. Kaplan PhD                                                   Page 14

     Dr. Kaplan contributed to the research design, implementation, writing, and
     editing of this manuscript.

26. *Kaplan MS, Becker JV, Tenke CE. Assessment of sexual knowledge and
     attitudes in an adolescent sex offender population. Journal of Sex Education
     and Therapy. 1991 17(3):217-225
    Impact factor: 0.130
     Dr. Kaplan developed the conceptualization, research design, and
     implementation of this study and to the writing and editing of this
     manuscript.

27. Becker JV, Kaplan MS, Tenke CE, Tartaglini A. The Incidence of
    depressive symptomatology in juvenile sex offenders with a history of
    abuse. Child Abuse and Neglect: The International Journal. 1991 15(3):531-
    536
    Impact factor: 2.899
    Dr. Kaplan contributed to the research design, writing, and editing of this
    manuscript.

28. *Kaplan MS, Becker JV, Tenke C. Influence of abuse history on adolescent
     self-reported comfort with interviewer gender. Journal of Interpersonal
     Violence. 1991 Mar;6(1):3-12
     Impact factor: 2.443
     Dr. Kaplan contributed to the concept and played a major role in designing
     and carrying out the study. She interviewed subjects, wrote and reviewed
     drafts of the paper.

1990
29. *Kaplan MS, Becker JV, Martinez D. A comparison of mothers of adolescent
     incest vs. non-incest perpetrators. Journal of Family Violence. 1990
     5(3):209-214
    Impact factor: 1.025
     Dr. Kaplan contributed to the concept and played a major role in designing
     and carrying out the study. She interviewed subjects, wrote and reviewed
     drafts of the paper.

30. *Kaplan MS, Abel GG, Rathner J, Mittleman M. The impact of parolee's
     perceptions of confidentiality on self-reported sex crimes. Annals of Sex
     Research. 1990 3(3):293-305.
     Impact factor: 1.78
     Annotation- N/A

1989
31. Becker JV, Hunter J, Stein R, Kaplan MS. Factors associated with erection
     in adolescent sex offenders. Journal of Psychopathology & Behavioral
     Assessment.1989 11(4):353-362
     Impact factor: 1.792
      Case 1:19-cr-00521-PKC Document 96-1 Filed 10/23/20 Page 17 of 37

Meg S. Kaplan PhD                                                    Page 15

     Dr. Kaplan contributed to the concept and played a major role in designing
     and carrying out the study. She interviewed the subjects and wrote and
     reviewed drafts of the paper,

1988
32. *Kaplan MS, Becker JV, Cunningham-Rathner J. Characteristics of parents
     of adolescent incest perpetrators: Preliminary findings. Journal of Family
     Violence, 1988 3(3): 183-191.
     Impact factor: 1.025
     Annotation- N/A

33. Kavoussi R, Kaplan MS, Becker JV. Psychiatric diagnoses in adolescent
    sex offenders. Journal of the American Academy of Child and Adolescent
    Psychiatry.1988 27(2):241-243
    Impact factor: 6.250
    Dr. Kaplan was a co-author on this paper, which describes psychiatric
    diagnoses of juvenile sexual offenders. She participated in developing the
    concept, and in writing and reviewing the manuscript.

34. Becker JV, Kaplan MS, Kavoussi R. Measuring the Effectiveness of
    Treatment for the Aggressive Adolescent Sexual Offender. Annals of the
    New York Academy of Science. 1988; 528: 215-222.
    Impact factor: 4.277
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13. *Kaplan MS, Herman R. Training Programs for Staff in Cournos F, Bakalar
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Monographs (with annotation):

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5. Abel GG, Becker JV, Rathner J, Kaplan MS, Reich J. (1984). Treatment
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   Psychiatric Institute, New York, New York
   This is an online publication that provides a step by step guide to the
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Case Reports:

1. Krueger RB, Kaplan MS. “I Want to Try It. What Else Can I Do?” Chemical
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    Impact factor: 30.000
   Dr. Kaplan consulted with the WHO on the revision of the paraphilic and
   compulsive sexual behavior diagnoses and contributed to the writing of this
   letter, which was the first publication to describe this diagnosis in ICD-11

Invited and/or Peer-Selected Presentations at Regional, National or International
Levels (partial list drawn from a total of 150 presentations since 1985)

Regional:

1. *Kaplan, MS. Atypical Sexual Behavior & Paraphilic Disorders. Invited presentation
    at NYU/Langone Medical Center for the Department of Psychiatry, New York,
    New York 2018.

2. *Kaplan MS, Krueger RB. The Sexual Behavior Clinic at New York State
   Psychiatric Institute. Presentation to Behavioral Health Services, Adult and
   Juvenile Operations, NYC Department of Probation, New York, New York January
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3. Vince M, Kaplan MS, Krueger RB. The Adolescent Sexual Offender Program at
   New York State Psychiatric Institute. Presentation to the New York County
   Department of Probation, New York, New York 2017.

4. Krueger RB, Kaplan MS. The Diagnosis and Treatment of Individuals Who Have
   Committed Sexual Offenses-Part I-Evaluation. Presentation at Grand Rounds to
   the Mid-Hudson Forensic Psychiatric Center, New Hampton, New York 2017.

5. Krueger RB, Kaplan MS. The Diagnosis and Treatment of Individuals Who Have
   Committed Sexual Offenses-Part II-Treatment. Presentation at Grand Rounds to
   the Mid-Hudson Forensic Psychiatric Center, New Hampton, New York 2017.

6. Krueger RB, Kaplan MS. Weiss S, Braunstein L. The Impact of Sexual Behavior
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7. Krueger RB, Kaplan MS, Menzie L, Rzewinski J, Kaplan M, Jackson K, Ford W.
   Program Descriptions on Sex Offender Treatment Panel of Providers.
   Presentation before the New York County District Attorney’s Office, New York,
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8. Krueger RB, Kaplan MS. The Case of an Individual Arrested for Child
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10. Krueger RB, Kaplan MS. Sex Offender Diagnosis, Treatment, and DSM-5
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11. *Kaplan MS: Best Practice Intervention Model with Adolescents Who Have
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12. *Kaplan MS, Krueger RB. Sexual Acting Out in Adolescents: Normative vs.
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     at Queens Children’s Psychiatric Center, Bellerose, New York 2011.

 13. *Kaplan MS, Krueger RB. Treatment of Individuals with Paraphilias and/or
      Sexual Disorders. Presentation at Grand Rounds, Lincoln Hospital, Bronx, New
      York 2011.

 14. *Kaplan MS. Human Sexuality: The Complexity of Establishing What is Normal,
      Deviant, or Criminal. The American Professional Society of the Abuse of
      Children, New Jersey Chapter, New Brunswick, New Jersey 2008.

 15. Miraglia R, Krueger RB, Kaplan MS. The Treatment and Management of
     Persons Who Have Committed Sexual Offenses, Bureau of Psychiatric
     Services and Research Institute Support, Statewide Grand Rounds, Albany,
     New York 2008.

  16. *Kaplan MS, Weiss S, Braunstein L, Krueger RB. Internet Pornography and
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  17. *Kaplan MS, Krueger RB. Proposed Paraphilic Diagnoses for DSM-V. Grand
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  18. *Kaplan MS. Sex, Drugs, & HIV Prevention: Columbia University
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  24. *Kaplan MS. The Best Practice Model for the Evaluation and Risk Assessment
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  25. *Kaplan MS. The Assessment and Treatment of Adolescent Sexual Offenders.
       Grand Rounds, Family Court Mental Health Services, New York, New York
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      New York 2000.

  30. *Kaplan MS, Krueger RB. Adolescent Sex Offenders: An Update. Grand
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       New York 2000.

  31. *Kaplan MS. Risk Assessment in Adolescents. Grand Rounds, Brooklyn
       Children’s’ Center, New York, New York 1998.
  32. *Kaplan MS. Evaluation and Treatment of Sex Offenders. Grand Rounds,
       Creedmore Psychiatric Center, New York, New York 1998.
  33. *Kaplan MS. Sexual Dysfunction. Grand Rounds, St. Luke’s-Roosevelt
       Hospital, New York, New York 1998.
  34. *Kaplan MS. Diagnosis & Treatment of Adolescent Sex Offenders.
       Society for Adolescent Psychiatry, New York, New York 1998.
  35. *Kaplan MS. Working with the Perpetrator. Mount Sinai Hospital Rape
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       York1998.
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  36. *Kaplan MS, and Kaufman KL. Clinical & Research Issues in Juvenile
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  37. *Kaplan MS. Clinical Assessment of Discharge Readiness for Sexually
       Abusive Adolescents. Grand Rounds, Rockland Children’s Psychiatric
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  38. *Kaplan MS. Judicial Seminars on Child Sexual Abuse, State of New
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  39. *Kaplan MS. Treatment of Sex Offenders, Grand Rounds, Kirby Forensic
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  40. Cournos F, Kaplan MS, Herman R. HIV Infection and Risk Reduction
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       of Continuing Medical Education, New York, New York and Albany, New
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  42. *Kaplan MS. Assessment and Treatment of the Paraphilias. Grand
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  43. *Kaplan MS. Legal and Ethical Dilemmas in Services for Persons with
       Mental Disabilities: New York State Commission on Quality of Care for the
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  44. *Kaplan MS. The Adolescent Sex Offender; Evaluation and Treatment.
       Mount Sinai Medical Center, Adolescent Health Center, New York, New
       York 1994.

  45. *Kaplan MS, Herman R. Training for Mental Health Professionals in HIV
       Prevention for Psychiatric Inpatients. Six series workshops. Bronx
       Children’s Psychiatric Center, Bronx, New York 1993.

National:

  1. *Kaplan MS, Herman R. HIV and Mental Illness. AMFAR, Miami Florida 2003.

  2. *Kaplan MS. Adolescents and Their Environment. American Society for
      Adolescent Psychiatry. New York, New York 2003.

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  4. *Kaplan MS. Symposium, Mixing of Sex Offenders in Custodial Drug
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  5. *Kaplan MS. Clinical Assessment of Sex Offenders: American Academy of
      Psychiatry and the Law, New York, New York January 1999.

  6. *Kaplan MS. Diagnosis and Treatment of Adolescent Sex Offenders.
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      Mountain Regional Conference on HIV Disease. Denver, Colorado 1999.
  8.   Cournos F, Herman R, Satriano J, Kaplan MS, Guido J. Training Mental
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  9. *Kaplan MS. Aids among Women with Severe Mental Illness. American
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  10. *Kaplan MS, Krueger RB. Sexual Behavior Problems of Professionals.
       Association for the Treatment of Sexual Abusers (ATSA) National
       Conference, Chicago, Illinois 1996.

  11. *Kaplan MS. Adolescent Sex Offenders. United States Department of
       Justice, National Summit on Promoting Public Safety through the
       Effective Management of Sex Offenders in the Community. Washington,
       D.C.1996.

  12. *Kaplan MS. American Psychiatric Association Institute on Psychiatric
       Services. The AIDS Epidemic Among People with Mental Illness.
       Washington, D.C.1997.

  13. *Kaplan MS, Herman R. HIV and People with Mental Illness: Risk
       Reduction. American Psychiatric Association. Los Angeles, California
       1998.
International:

   1. Drescher J, Reed G, Krueger RB, Kraus S, Kaplan, MS. Reshuffling the Deck:
      Revising Sexual and Gender Diagnoses in ICD-11. Annual Meeting of the
      American Psychiatric Association. New York, New York 2018.

    2. *Kaplan MS. Diagnosis, Assessment, and Treatment of Hypersexuality. Invited
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       Treatment of Sexual Offenders (IATSO), Oslo, Norway, September 2010.
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   3. Krueger RB, Kaplan MS. Paraphilic diagnoses in DSM-V at a Conference
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                     EXHIBIT B
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Honorable Judge P. Kevin Castel
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

October 2020



Dear Judge Castel,

My big brother is in prison, facing a terrifyingly long prison sentence and here I am, at home in
England reflecting on how such a situation even came about. I’ve worked in prisons, I have a Master
of Science Degree (MSc) in Forensic Psychology, I’ve helped develop programmes to reduce
recidivism. But never in a million years did I anticipate this.

So, I guess a bit of background might help. My name is Holly Gabrielle Long (nee. Bright), and I am
married with 3 young children (3, 6 and 7). I currently head up a department for an enterprise
resource planning (ERP) firm. A few years ago, I left London to move with my husband and children
to a small village in South East England. We are from a middle-class family. Peter was sent to an
academically amazing private boarding school. He had an unconditional offer from Cambridge
University (which he turned down because it wasn’t academically taxing enough for him). On the
face of it, he had every opportunity and one would expect that he could have, should have been
happy and prosperous. But, there’s two sides to every story, and his I guess, is no different.

To say that Peter was an unhappy child would be a gross understatement. When we were in primary
school, our mum would pick me and my sister up first and then we’d go and get him. Every day,
without fail, he would get in the car, upset and angry. I was the outgoing, confident, happy sibling,
who was a constant reminder to him of how lonely he was. Making friends was not something that
came easily to him and he was bored and frustrated at the lack of academic rigour that his school life
provided. Small talk eluded him, and he struggled with how to build any meaningful connections
with his peers.

My parents didn’t know what to do with him. My father is your stereotypical stiff upper lip Brit. He
was sent to boarding school at the age of 6, and never lived at home again. Boarding school, national
service, university, marriage. He didn’t know what a parent did, and was at best remote as a parent
himself. He grew up in an era of corporal punishment and the idea that children should be seen and
not heard.

Our mum on the other hand was deeply maternal, but struggling with issues of her own. She never
came to terms with the fact that she was adopted, her adoptive father was career army and an
alcoholic. My only memory of him was when we were very young and he kicked Peter across the
room because he was playing too close to him. Her mother                 just after Peter was born
and                                    . Mummy spent the next 6 years caring for her and raising 3
small children with no help from our dad. I don’t think he so much as changed a single nappy. Daddy
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was made redundant twice when we were kids. He worked all the time setting up his own business
and went back into paid employment as soon as he could find work. We hardly saw him, he was
always working, and when he wasn’t working, he was angry. I don’t have any happy family memories
from my childhood.

And so mummy started drinking. Drinking wine and smoking at the kitchen table are my prevailing
memories of her when we were kids. She was plagued by
                                                                         . Peter was very much the
same, but for her to acknowledge that, to take her desperately unhappy son to get help, would
mean admitting to herself that she was in the same boat. So it was ignored. Peter was put in the ‘too
difficult box’, and packed off to boarding school to be someone else's problem, whilst my sister and I
stayed at home. I can only imagine how unloved he must have felt. He ran away from school
repeatedly, all he wanted was to be at home, to be part of the family, to feel loved. I remember the
time he turned up at home just as my mum was putting me in the car to take me to the Doctors and
the time the police picked him up, sleeping on a bench in the middle of the night, desperately trying
to get home, in sub-zero temperatures. His school suggested family counselling, so clearly evident
was the dysfunctionality that persisted at home. We had 1 session. The counsellor asked us all to
write down on a piece of paper who in the family thought was the cause of all the arguments. We all
wrote down my father, apart from him, who wrote down Peter. It was epically unsuccessful and
never repeated.

Peter’s love for my parents is huge, and testament to the kindness and forgiveness that he carries in
his heart. His upbringing was not one that was marked with love and kindness, rather he was pushed
away and his emotional and mental health were neglected. My parents have convinced themselves
that they were acting in his best interests. Whilst I love my parents deeply, their behaviour towards
him was clearly neglectful of his emotional and mental well being. Our younger sister meanwhile
was
                                                        .

We have a half-brother, David, from my dad’s first marriage. He’s
           . He and my dad didn’t speak for a decade (another example of my fathers’ poor parenting
skills), so we didn’t really know him until he came back into our lives after the wider family staged an
intervention when I was 19. I also have several cousins on my fathers’ side who are also
             . We have always been of the belief that Peter is
                                                                                           .

I know that Peter is desperately worried about the impact that all of this is having on our elderly
father. And he is right to worry, our father is 83 and starting to suffer with the ailments that
accompany such an age and we are all concerned that they might never see one another again. To
be so far away from Peter whilst all this is going on is heartbreaking. I just want him home, or at least
to be able to visit him, so that we can see him. I am hugely grateful that he is able to at least email
us. I worry desperately how he will cope with the nuanced interactions of prison life. Tempers flare
easily and I fear that this, in combination with the nature of his charges, will lead to him coming to
great harm whilst in custody. Were he in the UK, he is someone that would likely be detained on a
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Vulnerable Prisoners Unit for his own protection, but I don’t believe that such units exist in the USA
and so he will have to find a way of adjusting to a mainstream population.

I sat through the first trial (I was, unfortunately not able to make the retrial), and listened to all that
was said. Judge Castel, I have worked with sex offenders and been exposed to an underworld of
sexuality that is anything but vanilla. To hear in such detail about Peters’ sexual proclivities was of
course surprising. I do however believe that there is a fundamental difference between the kinks
that he openly admits to and the sexual offence that he did not. I was glad to see that the jury gave
deep consideration to all that they had heard, and understood the enormity of the challenge before
them and why they were unable to reach a unanimous verdict. I was, of course, devastated to learn
of the verdict in the second trial.

Behind the highly intelligent, slightly awkward persona that Peter projects, he is an incredibly soft
and caring soul. I implore you to consider that Peter has spent 38 years of his life without ever
having committed an offence. I cannot help but look at this from my educational background and my
own personal experiences with my brother, and I consider/pray that you award him the minimum
possible sentence. At heart he is a kind man whom we would all dearly love to welcome back home
one day.

I thank you for taking the time to read and consider this.



Yours sincerely,



Holly Long
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Honourable Judge P. Kevin Castel,
United States District Judge,
Southern District of New York,
500 Pearl Street,
New York, NY10007

28th September 2020


Dear Judge Castel,

Re: Peter Bright

We are Peter’s parents, Myra and Tim Bright. We are English and live in South London. We
have been married for 41 years. We have three children: Peter is the eldest and he has two
sisters. Tim is 83 and retired. I am 63 and a private cook, but the outbreak of Covid 19 has
brought my business to a stop. On the plus side it has given us the opportunity to see more of
our five grandchildren. Family is very important to us.

Peter was born 6 weeks prematurely but despite his small size he was soon home and grew as
expected. He passed all the usual baby milestones (sitting up, crawling) but had a very limited
vocabulary and didn’t start talking until he was 3 years old. As a young boy he would spend
hours playing with Lego with great concentration and creativity. He was a smart child who was
always in his own world, and he spent a lot of time alone. At four years old he attended a local
school, but it became clear that he was not intellectually stimulated enough, and we were able
to move him to another school where he was given encouragement to stretch himself
academically. Peter flourished at his new school. He excelled at Maths, Chemistry and Physics
and was always willing to help others in the class if they asked him. His teachers remarked he
was kind and patient when helping others in a subject he was confident with.

At his secondary school, Peter enjoyed the lessons but found interaction with adults and his
peers difficult. He didn’t make friends easily and I did my best to invite friends for tea so that he
could play. His sisters regularly asked friends to the house or were asked to go to their houses.
It used to make me so sad that he seldom got invited back to his friends’ houses. Looking back, I
can see that Peter was depressed during his adolescent years and beyond. His isolation in his
room at the top of the house always worried me. Of course, with hindsight I should have tried
to get him some counselling but in those days depression wasn’t as talked about as a problem
in the young as it is nowadays.

When he was 13 we sent him to a very academic boarding school, Winchester College. Peter
did not want to go and during the first term he ran away and turned up at our home one
afternoon. We took him back, but he wasn’t happy during this time and I think he felt jealous
of his sisters being at home all the time and going to day school in London. With hindsight I
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believe now that it would have been better if we had sent him to a day school where he would
not have been isolated from his family.

During his time at secondary school it became apparent that Peter reacted differently to others
– no eye contact, not good at small talk except with people who had similar interests, e.g.
Maths and Computers. Around this time Peter’s half-brother (17 years older) was
                           . Other nephews and nieces in the family have also been
                                                                              . The more we
researched this the more certain we were that Peter
                                                                               .
          Peter found it difficult to form close friendships with his peers as he didn’t
understand why people did not see things as he did. As a result of this he was depressed and
began to see a counsellor at school.

Peter gained a place at Imperial College, London to study Mechanical Engineering. But as a
result of his very academic secondary school, he found he was just repeating work already
done, so he left and got himself a job as a developer with a software company which he
enjoyed as it was using his skills.

Peter hit a low point emotionally in May 2018 and saw a psychiatrist who prescribed anti-
depressants for him. It took him a while for him to tell us but once he did, we could talk about
mental health issues freely. He said that the medication and counselling sessions were helping
him a lot. When he came over to England in January 2019 for his sister’s wedding, we all saw
such a change in him. He was much more relaxed, more interested in talking to others and
joining in. We were so happy that he, at last, was obviously feeling good about himself.

One of Peter’s defining characteristics is that he is a kind-hearted person who cares deeply
about others. He hates injustice and will argue for the less able members of Society.
Homelessness upsets him and he will often stop to talk to those living on the streets. He also
loves animals and is sincerely passionate about social issues.

Peter’s arrest was devastating for us. As a close family we are finding the situation terribly hard
to comprehend. It feels like a black cloud pushing down on us. Peter has told me both in
person and email that he is worried about the impact this is having on all of us, particularly his
father, Tim, who is 83 years old. He and Peter worry hugely that they won’t see each other
again – a dreadful prospect.

I visited Peter every month since his arrest in May 2019 up until the Covid 19 lockdown. I
attended both his trials and I was aghast at the verdict of the second jury. Peter was open and
honest about his alternative, but always consensual, lifestyle. While his choices may not have
been that of the average Joe, it in no way equates to the charges brought. My heart aches for
him. I continue to stand by my son and believe that he is not the kind of person who could do
what he was accused and convicted of. It’s not our Peter.
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Judge Castel, Peter has been detained in a horrific place. The conditions at MCC are deplorable
at the best of times. In addition to the unsanitary conditions and rodent and vermin infestation,
now because of Covid 19, prisoners are locked up 22.5 hours a day. They are deprived of much
needed physical contact with loved ones. I haven’t seen my son in 7 months. It breaks my heart
not being able to hug him—I know he counts on his family’s love and support to keep him afloat
and it just pains us to be so far apart.

I urge you please, to grant Peter the lowest sentence possible and therefore give him the
opportunity to pick up the pieces of his life at the earliest time possible.

Yours sincerely,

Myra & Tim Bright
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Peter led a relatively hermit-like lifestyle – coming home from work and then sitting in front of
his computer and playing games and forming friendships via the internet. He found the
internet as a lifeline – a way to talk with like minded people without having to socialise.
Occasionally (perhaps 3-4 times a year), he would meet up with his internet friends and
appeared to have fun. I was living at home as well on and off during my time at University,
and I was so happy that he seemed to have found a feeling of belonging at last. He made
his first trips to the United States for meet ups and I remember him saying how happy he felt
in the US, as it was somewhere where he could be himself. But aside from these rare trips,
his life was in either work or his bedroom at his computer. It seemed so isolated.

After his move to the US, I saw Peter about once a year (usually at Christmas, and in
January 2019 for my wedding). His communication was scant at times, which is often
difficult, because not knowing how he is can be hard. But he would reach out when it
matters – when my son was taken to hospital at 8 weeks, when my appendix burst, on
birthdays etc. When I told him last April about my beloved cat going missing, he was so
caring and concerned. Sometimes I think Peter protects himself in his bubble of isolation to
avoid feeling more pain and hurt – because when he does feel something he feels it so
much deeper than your average person. When he started to see a therapist a couple of
years ago, he finally opened up about his depression and that it was something that hasn’t
ever lifted for him, and that he had dealt with it forever – but he just thought it was how
everyone felt, that it was just a part of life. They put him on Wellbutrin which enabled him to
gain some clarity that being depressed isn’t normal. Around that time my mother
                                                              and said to Peter that ‘I know
you’ve been struggling a long time’ – Peter was upset by this as he couldn’t understand why
she had never once mentioned this to him before and tried to help him. How as a parent you
can ignore your child’s clear mental distress and not help is something I will never be able to
understand.

Since his arrest and incarceration, Peter and I are in daily email exchange, and I have
managed to travel out once to visit him at MCC in October 2019. Our conversations are
mostly trivial, as we generally try to avoid discussing the reality of this truly awful situation.
How prison has not broken him I do not know, and I am in constant disbelief as to how he
has found the inner strength to keep going. Being unable to travel to either trials was heart-
breaking (I was heavily pregnant at the time), and not being there to not only support Peter,
but my poor mother also, is something that will haunt me for the rest of my life. My mother is
still so traumatised by the second trial and has struggled to function since that day. I have a
constant worry that she will have a nervous breakdown – or worse.

The nightmare of the situation has been made even worse by Covid 19. Being unable to
travel to see him since the trial is awful and I worry that following his sentencing he will be
sent to a prison even further away for us, so that even once transatlantic travel resumes, he
will still be unreachable. His time in prison has been made all the worse by the Covid
lockdowns where he has been locked in his cell for 23 hours a day on his own – this type of
punishment is horrifically severe. With this in mind, I ask you please to consider the
minimum sentence possible for Peter, my dear brother, so that he can at least try and
maintain the hope that he can rebuild his life following his eventual release.

Thank you for taking the time to read this.

Yours sincerely,


Primrose Hollis
